         Case
          Case5:19-cv-00286-JKP-ESC Document
               5:19-cv-00286-DAE Document 30-140 Filed
                                                  Filed06/07/19
                                                        08/05/19 Page
                                                                  Page2 1ofof2221



                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 EJ LEJEUNE, individually and on behalf of all
 others similarly situated,                                    CIV. A. NO. 5:19-cv-00286-DAE

                      Plaintiff,                               JURY TRIAL DEMANDED

 vs.
                                                               CLASS/COLLECTIVE ACTION
 COBRA ACQUISITIONS LLC; ESPADA
 LOGISTICS AND SECURITY GROUP, LLC;                            PURSUANT TO 29 U.S.C. §
 ESPADA CARIBBEAN LLC; JAMES JORRIE;                           216(b)/ FED. R. CIV. P. 23
 and JENNIFER GAY JORRIE

                        Defendants.

                              PLAINTIFF’S AMENDED COMPLAINT

                                            I.      SUMMARY

    1.          EJ LeJeune (“LeJeune” or “Plaintiff”) brings this lawsuit to recover unpaid overtime

wages and other damages from Cobra Acquisitions LLC (“Cobra”), Espada Logistics and Security

Group LLC; Espada Caribbean LLC (together “Espada”), James Jorrie, and Jennifer Gay

Jorrie(collectively, “Defendants”) under the provisions of section 216(b) of the Fair Labor Standards

Act (the “FLSA”), as amended 29 U.S.C. §§ 201, et seq. and the Puerto Rico Wage Payment Statute

(the “PRWPS”), 29 L.P.R.A. §§ 171, et seq., §§ 250, et seq., and §§ 271, et seq.

    2.          Plaintiff and those similarly situated regularly worked for Defendants in excess of 40

hours each week. As shown below, Defendants failed to properly compensate Plaintiff and all other

similarly situated workers.

    3.          Instead, during the relevant time period Defendants paid Plaintiff, and other workers

like him a day rate regardless of the number of hours worked regardless of his classification as an

employee or independent contractor.




                                                     1
        Case
         Case5:19-cv-00286-JKP-ESC Document
              5:19-cv-00286-DAE Document 30-140 Filed
                                                 Filed06/07/19
                                                       08/05/19 Page
                                                                 Page3 2ofof2221



                                   II. JURISDICTION AND VENUE

   4.          This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because this action involves a federal question under the FLSA. 29 U.S.C. § 216(b).

   5.          Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

   6.          The Court has federal jurisdiction over this action pursuant to the jurisdictional

provisions of the Class Action Fairness Act, 28 U.S.C. § 1332(d). The Court also has supplemental

jurisdiction over any sub-class pursuant to 28 U.S.C. § 1367.

   7.          Defendants Espada maintains its headquarters in this District and Division. Cobra

conducts substantial business in this District and Division.

                                            III. PARTIES

                                             PLAINTIFF

         EJ LeJeune

   8.          Plaintiff is a resident of Louisiana. His written consent was filed with the original

Complaint. See Doc. No. 1.

   9.          Plaintiff worked as a paramedic for Defendants from February 2018 until February

2019 in Puerto Rico.

   10.         Plaintiff would provide medical services to those individuals who were injured as a

result of, or in the wake of Hurricane Irma and Maria.

   11.         Initially, Plaintiff was classified as an independent contractor and paid a day rate of

$327 regardless of the number of hours he worked.

   12.         Later during his employment with Defendants, Plaintiff was reclassified as a W-2

employee and paid a day rate of $274 regardless of the number of hours he worked.

   13.         Regardless of his classification, Plaintiff normally worked 8-12 hours a day six to seven

days a week.



                                                   2
      Case
       Case5:19-cv-00286-JKP-ESC Document
            5:19-cv-00286-DAE Document 30-140 Filed
                                               Filed06/07/19
                                                     08/05/19 Page
                                                               Page4 3ofof2221



    14.         Plaintiff was not paid overtime for hours worked over 40 in a workweek.

    15.         Plaintiff brings this action individually and on behalf of all other similarly situated

workers (regardless of employee or independent contractor classification) who were paid by

Defendants’ day-rate system. Defendants paid each of these workers a flat amount for each day

worked and failed to pay them overtime for all hours that they worked in excess of 40 hours in a

workweek. The class of similarly situated employees or potential class members sought to be certified

is defined as follows (the “Day Rate Class”):

          All workers employed by or on behalf of Cobra and/or Espada who were paid
          a day-rate.

    16.         Plaintiff further seeks class certification pursuant to FED. R. CIV. P. 23 under Puerto

Rico Law (the “Puerto Rico Class”).

    17.         Plaintiff also brings this action on behalf of themselves and on behalf of the Puerto

Rico Class:

          All workers employed by or on behalf of Cobra and/or Espada who were paid
          a day-rate in Puerto Rico.

    18.         The Day Class Members and Puerto Rico Class Members are collectively referred to

as the “Putative Class Members.”

                                            DEFENDANTS

    19.         Defendants jointly employed Plaintiff and similarly situated employees at all times

relevant.

    20.         Each Defendant has had substantial control over Plaintiff’s working conditions, and

over the unlawful policies and practices alleged herein.

    21.         Defendants are part of a single integrated enterprise that has jointly employed Plaintiff

and similarly situated employees at all times relevant.

    22.         During all relevant times, Defendants’ operations are interrelated and unified.



                                                    3
      Case
       Case5:19-cv-00286-JKP-ESC Document
            5:19-cv-00286-DAE Document 30-140 Filed
                                               Filed06/07/19
                                                     08/05/19 Page
                                                               Page5 4ofof2221



    23.         During all relevant times, Defendants have been Plaintiff’s employers within the

meaning of the FLSA and the PRWPS.

          Cobra Acquisitions LLC

    24.         Defendant Cobra Acquisitions LLC is a foreign limited liability company organized

and existing under the laws of Oklahoma.

    25.         The corporate headquarters for Cobra Acquisitions LLC is 14201 Caliber Drive Suite

300, Oklahoma City, Oklahoma 73134. Cobra Acquisitions LLC is a wholly-owned subsidiary of

Mammoth Energy Services Inc., who shares the principal address of 14201 Caliber Drive Suite 300,

Oklahoma City, Oklahoma 73134.

    26.         As is explained below, Cobra Acquisitions LLC is a signatory to the series of Master

Service Agreements between Cobra and the Government of Puerto Rico – Puerto Rico Electric Power

Authority (“PREPA”) for energy-infrastructure repairs after Hurricane Maria.

    27.         At all relevant times, Cobra Acquisitions LLC has maintained control, oversight, and

direction over Plaintiff and similarly situated employees, including, but not limited to, hiring, firing,

disciplining, timekeeping, payroll, and other employment practices.

    28.          Cobra Acquisitions LLC applied the same employment policies, practices, and

procedures to all Day Rate Workers who worked at their job sites in Puerto Rico.

    29.         At all relevant times, Cobra Acquisitions LLC had annual gross volume of sales that

have exceeded $1,000,000.

          Espada Logistics and Security Services, LLC

    30.         Defendant Espada Logistics and Security Services, LLC is a domestic limited liability

company organized and existing under the laws of Texas.

    31.         The corporate headquarters for Espada Logistics and Security Services, LLC is located

at 500 Sandau Road Suite 452, San Antonio, Texas 78216, and the company may be served through



                                                   4
        Case
         Case5:19-cv-00286-JKP-ESC Document
              5:19-cv-00286-DAE Document 30-140 Filed
                                                 Filed06/07/19
                                                       08/05/19 Page
                                                                 Page6 5ofof2221



its registered agent Jennifer G. Jorrie at 20614 Stone Oak Parkway, APT 1124 San Antonio, Texas

78258.

    32.         At all relevant times, Espada Logistics and Security Services, LLC has maintained

control, oversight, and direction over Plaintiff and similarly situated employees, including, but not

limited to, hiring, firing, disciplining, timekeeping, payroll, and other employment practices.

    33.         Espada Logistics and Security Services, LLC applied the same employment policies,

practices, and procedures to all Day Rate Workers who worked at their job sites in Puerto Rico.

    34.         At all relevant times, Espada Logistics and Security Services, LLC had annual gross

volume of sales that have exceeded $1,000,000.

          Espada Caribbean LLC

    35.         Defendant Espada Caribbean LLC is a foreign limited liability company organized and

existing under the laws of Puerto Rico.

    36.         The corporate headquarters for Espada Caribbean LLC is listed as Acacia Street

Building #3, Office D, Reparto Monte Rey, San Juan, Puerto Rico 00920. The company’s corporate

filings list 500 Sandau Road, Suite 452, San Antonio, Texas 78216 as its mailing address. The company

may be served through its authorized person Jennifer Gay Jorrie, listed at Espada’s corporate

headquarters of 500 Sandau Road, Suite 452 San Antonio, Texas 78216.

    37.         At all relevant times, Espada Caribbean LLC has maintained control, oversight, and

direction over Plaintiff and similarly situated employees, including, but not limited to, hiring, firing,

disciplining, timekeeping, payroll, and other employment practices. Moreover, Espada Caribbean LLC

was the corporation listed on public postings Espada displayed at some of their job sites in Puerto

Rico.

    38.         Espada Caribbean LLC applied the same employment policies, practices, and

procedures to all Day Rate Workers who worked at their job sites in Puerto Rico.



                                                   5
          Case
           Case5:19-cv-00286-JKP-ESC Document
                5:19-cv-00286-DAE Document 30-140 Filed
                                                   Filed06/07/19
                                                         08/05/19 Page
                                                                   Page7 6ofof2221



       39.          At all relevant times, Espada Caribbean LLC had annual gross volume of sales that

have exceeded $1,000,000.

             James Jorrie

       40.          Upon information and belief, James Jorrie is a resident of the State of Texas.

       41.          At all relevant times, James Jorrie has been a co-owner and operator of Espada.

       42.          In this regard, James Jorrie’s personal LinkedIn account describes him as “CEO” of

Espada Logistics & Security Group from October 2004 to the present.1 Moreover, James Jorrie is

listed as registered agent for other Espada-related corporations in the Texas Department of

Corporation records, such as for “Espada Personnel Management LLC” and “Espada Logistic and

Security Group, Inc.” Moreover, he is listed as “management” for another related corporation,

“Espada Training Services, LLC.”

       43.          At all relevant times, James Jorrie has had power over personnel decisions at Espada,

including the power to hire and fire employees, set their wages, and otherwise control the terms and

conditions of their employment. In this regard, he set the day rates payable to Plaintiff and the Putative

Class Members in Puerto Rico. In addition, he routinely was physically present in Puerto Rico

overseeing Espada’s operations, including the job duties of Plaintiff and the Putative Class Members.

       44.          At all relevant times, James Jorrie has had power over payroll decisions at Espada,

including the power to retain time and/or wage records.

       45.          At all relevant times, James Jorrie has been actively involved in managing the day to

day operations of Espada.

       46.          At all relevant times, James Jorrie has had the power to stop any illegal pay practices

that harmed Plaintiff and similarly situated Putative Class Members.

       47.          At all relevant times, James Jorrie has had the power to transfer the assets and/or


1   See Jim Jorrie LinkedIn Page, https://www.linkedin.com/in/jimjorrie/.


                                                            6
         Case
          Case5:19-cv-00286-JKP-ESC Document
               5:19-cv-00286-DAE Document 30-140 Filed
                                                  Filed06/07/19
                                                        08/05/19 Page
                                                                  Page8 7ofof2221



liabilities of Espada.

       48.          At all relevant times, James Jorrie has had the power to declare bankruptcy on behalf

of the Espada.

       49.          At all relevant times, James Jorrie has had the power to enter into contracts on behalf

of Espada.

       50.          At all relevant times, James Jorrie has had the power to close, shut down, and/or sell

Espada.

       51.          James Jorrie is a covered employer within the meaning of the FLSA and the PRWPS, and

at all relevant times, has employed and/or jointly employed Plaintiff and similarly situated Putative Class

Members.

             Jennifer Gay Jorrie

       52.          Upon information and belief, Jennifer Gay Jorrie is a resident of the State of Texas.

       53.          At all relevant times, Jennifer Gay Jorrie has been a co-owner and operator of Espada.

       54.          In this regard, Jennifer Gay Jorrie’s personal LinkedIn account describes her as “Vice

President” of Espada Logistics & Security Group from October 2004 to the present.2 Moreover, she

is listed as registered agent for Espada Logistics & Security Group, LLC and Espada Caribbean LLC.

       55.          At all relevant times, Jennifer Gay Jorrie has had power over personnel decisions at

Espada, including the power to hire and fire employees, set their wages, and otherwise control the

terms and conditions of their employment. In this regard, she was routinely physically present in Puerto

Rico overseeing Espada’s operations, including the job duties of Plaintiff and the Putative Class

Members

       56.          At all relevant times, Jennifer Gay Jorrie has had power over payroll decisions at Espada,

including the power to retain time and/or wage records.


2   See Jennifer Gay LinkedIn Page, https://www.linkedin.com/in/jennifer-gay-798a671b/.


                                                          7
      Case
       Case5:19-cv-00286-JKP-ESC Document
            5:19-cv-00286-DAE Document 30-140 Filed
                                               Filed06/07/19
                                                     08/05/19 Page
                                                               Page9 8ofof2221



    57.         At all relevant times, Jennifer Gay Jorrie has been actively involved in managing the

day to day operations of Espada.

    58.         At all relevant times, Jennifer Gay Jorrie has had the power to stop any illegal pay

practices that harmed Plaintiff and similarly situated Putative Class Members.

    59.         At all relevant times, Jennifer Gay Jorrie has had the power to transfer the assets

and/or liabilities of Espada.

    60.         At all relevant times, Jennifer Gay Jorrie has had the power to declare bankruptcy on

behalf of the Espada.

    61.         At all relevant times, Jennifer Gay Jorrie has had the power to enter into contracts on

behalf of Espada.

    62.         At all relevant times, Jennifer Gay Jorrie has had the power to close, shut down, and/or

sell Espada.

    63.         Jennifer Gay Jorrie is a covered employer within the meaning of the FLSA and the

PRWPS, and at all relevant times, has employed and/or jointly employed Plaintiff and similarly situated

Putative Class Members.

                                   IV. COVERAGE UNDER THE FLSA

    64.         At all times hereinafter mentioned, Defendants have been an employer within the

meaning of the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

    65.         At all times hereinafter mentioned, Defendants have been part of an enterprise within

the meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

    66.         At all times hereinafter mentioned, Defendants have been part of an enterprise

engaged in commerce or in the production of goods for commerce within the meaning of Section

3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has and has had employees engaged

in commerce or in the production of goods for commerce, or employees handling, selling, or otherwise



                                                   8
         Case
         Case5:19-cv-00286-JKP-ESC Document
              5:19-cv-00286-DAE Document 30-140Filed
                                                 Filed 08/05/19Page
                                                     06/07/19   Page109ofof22
                                                                            21



working on goods or materials that have been moved in or produced for commerce - such as

construction equipment, hand tools, computers, automobiles, and cell phones – by any person and in

that said enterprise has had and has an annual gross volume of sales made or business done of not

less than $1,000,000 (exclusive of excise taxes at the retail level which are separately stated).

      67.          At all times hereinafter mentioned, Plaintiff and the Putative Class Members were

engaged in commerce or in the production of goods for commerce.

      68.          At all times hereinafter mentioned, Defendants have been an employer within the

meaning of 29 L.P.R.A. § 250b.

      69.          At all times hereinafter mentioned, Plaintiff and the Putative Class Members were

employees within the meaning of 29 L.P.R.A. § 250b.

      70.          As will be shown through this litigation, Defendants treated Plaintiff, and indeed all

Putative Class Members that were classified as independent contractors or employees and paid a daily

rate without overtime compensation.

      71.          Defendants’ misclassification of Plaintiff and the Putative Class Members as

independent contractors does not alter their status as employers for purposes of this FLSA collective

or class action.

                                               V.      FACTS

      72.          Following the massive devastation caused by Hurricane Irma and Hurricane Maria,

FEMA and other state and federal governmental departments, such as the Department of the Army

implemented programs to provide aid and repairs to Puerto Rico.

      73.          Cobra Energy is a full-service Infrastructure, Construction Company centering on

most facets of the utility industry, focusing on Transmission and Distribution (T&D) networks.3



3   https://www.mammothenergy.com/divisions/cobra-energy/


                                                      9
      Case
       Case5:19-cv-00286-JKP-ESC Document
            5:19-cv-00286-DAE Document 30-140 Filed
                                               Filed06/07/19
                                                     08/05/19 Page
                                                               Page1110ofof2221



    74.          In order to repair the Puerto Rican electrical infrastructure that was severely damaged

by Hurricane Irma and Maria, PREPA and Cobra signed an Emergency Master Service Agreement

(“Service Agreement”) on or around October 19, 2017. Originally valued at $200 million, the Service

Agreement between PREPA and Cobra steadily increased with amendments to the original contract

amount, ultimately being valued at approximately $945 million in February 2018.4 In May 2018, Cobra

and PREPA entered into another one-year Service Agreement valued at approximately $900 million

to complete the restoration project.5

    75.          As part of its Service Agreements, Cobra, in addition to supplying electrical and

infrastructure workers to repair the power grid, represented it would supply a “Security Team” to assist

in the restoration project. For example, in the original Service Agreement, Cobra represented the

Security Team as billed at approximately $2,000 per day, for a value of $24,960,000 for the initial 120-

day contract period. Each subsequent amendment and Service Agreement likewise called for and billed

for security personnel on Puerto Rico.

    76.          As part of these Service Agreements, Cobra was required to ensure that “all laborers

(including watchmen and guards) and mechanics employed by the Contractor or subcontractors shall

receive overtime compensation at a rate not less than one and one-half times the basic rate of pay for

all hours worked in excess of forty hours in a workweek.”

    77.          Cobra contracted with Espada to provide the security team necessary for the

infrastructure repair service contracts. Espada is an international service company, providing expert

security measures, logistical processes, emergency evacuations and institutional training curriculum,

enabling companies to concentrate on their core business.6




4 https://caribbeanbusiness.com/cobras-puerto-rico-contract-increased-to-about-945-million/
5 https://caribbeanbusiness.com/cobra-signs-new-900-million-puerto-rico-power-contract/
6 http://www.espadaservices.com/about/




                                                        10
     Case
      Case5:19-cv-00286-JKP-ESC Document
           5:19-cv-00286-DAE Document 30-140 Filed
                                              Filed06/07/19
                                                    08/05/19 Page
                                                              Page1211ofof2221



   78.         Espada directly hired Plaintiff and the Putative Class Members. Upon receipt of

employment applications, Defendants coordinated Plaintiff ’s and Putative Class Members’ travel

details to Puerto Rico and provided them with transportation. While on the island, Cobra provided

housing and meals for the Putative Class Members.

   79.          Defendants willfully misclassified Plaintiff and the Putative Class Members as

independent contractors for some of the time they were working in Puerto Rico. Beginning in

approximately August 2018, Defendants re-classified Putative Class Members as employees.

   80.         Regardless of their classification as a contractor or employee, Defendants paid

Plaintiff and the Putative Class Members a flat sum for each day worked, regardless of the number

of hours that they worked that day (or in that workweek) and failed to provide them with overtime

pay for hours that they worked in excess of 40 hours in a workweek.

   81.         Plaintiff and the Putative Class Members generally provided labor, security, and/or

paramedic services in connection with restoration of power in Puerto Rico after the hurricanes.

   82.         Defendants maintained substantial custody and control over Plaintiff and the Putative

Class Members at all relevant times. In this regard, Espada set Putative Class Members’ rates of pay

and Cobra Energy billed PREPA for each Putative Class Member. Moreover, Putative Class Members’

were assigned identification badges that stated “PREPA Contractor” bearing Cobra’s company logo.

   83.         Defendants provided guidelines to Putative Class Members outlining their job duties

and rules of engagement.

   84.         Defendants collectively determined Putative Class Members’ job site locations and

schedules, which directly mirrored the job sites and schedules of Cobra’s electrical workers performing

infrastructure repair on the island and also Cobra upper management personnel as they worked

throughout the island.




                                                  11
      Case
       Case5:19-cv-00286-JKP-ESC Document
            5:19-cv-00286-DAE Document 30-140 Filed
                                               Filed06/07/19
                                                     08/05/19 Page
                                                               Page1312ofof2221



    85.        Putative Class Members generally reported to both supervisors from Espada and

Cobra while in the field, and worked side by side both companies’ supervisors. Cobra management

had the ability to direct Putative Class Members in their day-to-day activities while working throughout

the island.

    86.        Putative Class Members were also required to submit daily reports to Cobra and

Espada regarding their job duties and posts.

    87.        At some time during the work in Puerto Rico, Espada provided uniforms for Putative

Class Members.

    88.        Putative Class Members were economically dependent on Defendants during their

employment, and Defendants directly determined Plaintiff and the Putative Class Members’

opportunity for profit and loss. In this regard, Defendants set Plaintiff ’s and the Putative Class

Members’ rates of pay and work schedule, and prohibited them from working other jobs for other

companies while they were in Puerto Rico. Plaintiff and the Putative Class Members’ earning

opportunity was based on the number of days Defendants scheduled them to work.

    89.        During the engagement in Puerto Rico, Espada also applied an unlawful automatic

deduction of approximately $850 against the wages of Putative Class Members for weapons permits.

Based on information and belief, however, these permits in fact only cost $60 to obtain, and Putative

Class Members did not receive the permits. Espada retained all or most of these automatic deductions

for its own purposes.

    90.        Plaintiff and the Putative Class Members did not incur operating expenses like rent,

payroll, marketing, and insurance. In this regard, housing and meals were provided by Defendants at

their accommodations. Defendants’ management could and did transfer Putative Class Members

between accommodations and job sites.




                                                  12
     Case
      Case5:19-cv-00286-JKP-ESC Document
           5:19-cv-00286-DAE Document 30-140 Filed
                                              Filed06/07/19
                                                    08/05/19 Page
                                                              Page1413ofof2221



    91.         No real investment was required of Plaintiff or the members of the Putative Class to

perform their jobs; they did not bring building supplies, tools, or equipment to the island. These items

were provided by Defendants or their clients.

    92.         The primary job functions of Plaintiff and the members of the Putative Class were

primarily manual labor/technical in nature, requiring little to no official training or other advanced

degree. Moreover, the services rendered by Plaintiff and the Putative Class Members were an integral

part of Defendants’ business of restoring the power services to Puerto Rico.

    93.         The members of the Putative Classes did not have primarily supervisory or

management duties. Finally, for the purposes of their overtime claims, the members of the Putative

Class performed substantially similar job duties related to security or medical services in Puerto Rico’s

recovery efforts.

    94.         Plaintiff and the Putative Class Members had no power to hire or fire other workers.

    95.         All of the members of the Putative Class performed the same or similar job duties

and are subjected to the same or similar policies and procedures, which dictate the day-to-day activities

performed by each person.

    96.         The members of the Putative Class also worked similar hours and were denied

overtime as a result of the same illegal pay practice. They all worked in excess of 40 hours each week

and were often scheduled for 12 hour shifts for weeks at a time. Instead of paying them overtime,

Defendants paid the members of the Putative Classes a day-rate regardless of classification.




                                                   13
     Case
      Case5:19-cv-00286-JKP-ESC Document
           5:19-cv-00286-DAE Document 30-140 Filed
                                              Filed06/07/19
                                                    08/05/19 Page
                                                              Page1514ofof2221



                                      VI.     FLSA VIOLATIONS

    97.         As set forth herein, Defendants have violated, and are violating, Section 7 of the FLSA,

29 U.S.C. § 207, by employing employees in an enterprise engaged in commerce or in the production

of goods for commerce within the meaning of the FLSA for workweeks longer than 40 hours without

compensating such employees for their employment in excess of 40 hours per week at rates no less

than 1 and ½ times the regular rates for which they were employed.

    98.         Defendants knowingly, willfully, or in reckless disregard carried out this illegal pattern

or practice of failing to pay the Putative Class Members overtime compensation. Defendants’ failure

to pay overtime compensation to these employees was neither reasonable, nor was the decision not

to pay overtime made in good faith.

    99.         Accordingly, Plaintiff and the Putative Class Members are entitled to overtime wages,

plus liquidated damages, attorney’s fees and costs.

                                  VII. PUERTO RICO LAW VIOLATIONS

    100.        Plaintiff bring this claim under Puerto Rico law as a Rule 23 class action.

    101.        Puerto Rico law requires employers like Defendants to pay employees at one and one-

half (1.5) times the regular rate of pay for hours worked in excess of forty (40) hours in any one week.

Defendants were subject to Puerto Rico Law and Plaintiff and the Puerto Rico Class Members are

entitled to overtime pay under this law. P.R. Laws Ann. tit. 29 § 271 et seq (“Law 379”).

    102.        Defendants have violated Puerto Rico law by failing to compensate their employees

for hours worked in excess of 40 hours per week at rates less than 1 and ½ times the regular rates for

which they were employed.

    103.        Puerto Rico Code 29 L.P.R.A. § 171, et seq., limits the deductions that can be taken

from a worker's wages. Defendants made illegal deductions from the wages of Plaintiff and the Puerto

Rico Class Members. These deductions were not authorized and were done willfully.



                                                   14
      Case
       Case5:19-cv-00286-JKP-ESC Document
            5:19-cv-00286-DAE Document 30-140 Filed
                                               Filed06/07/19
                                                     08/05/19 Page
                                                               Page1615ofof2221



    104.        Puerto Rico Code 29 L.P.R.A. § 173 requires employers to pay their employees for all

hours worked, at intervals not to exceed 15 days. If employee is dismissed from work, he must be paid

no later than the next official payday. Defendants regularly and willfully failed to properly pay Plaintiff

and the Puerto Rico Class Members and failed to do so in the time required. Puerto Rico Code

provides that employers who violate the provisions of this act are liable to affected employees for

unpaid wages, liquidated damages of an amount equal to the amount owed, costs, attorney's fees, and

other appropriate relief. 29 L.P.R.A. § 177.

    105.        Puerto Rico Code 29 L.P.R.A. § 185a, et seq., applies to protect workers from wrongful

discharge. Any employee who is terminated without just cause is entitled to mandatory severance

under Puerto Rico law. “Just cause for discharge of an employee shall be understood to be that which

is not based on legally prohibited reasons and on a whim of the employer.” 29 L.P.R.A. § 185b.

Defendants willfully violated these statutes when Plaintiff or the Puerto Rico Class Members were

terminated without just cause and not paid the required severance.

    106.        Puerto Rico Code 29 L.P.R.A. § 250 et seq., mirrors the federal requirements for

minimum wage. On several occasions, Defendants failed to pay members of the class for hours

worked. These class members regularly performed manual labor for 10 and 12 hour periods per day

but were underpaid or not paid for altogether for this work. Defendants willfully violated these

sections by failing to pay Plaintiff and the Puerto Rico Class Members for all hours worked.

    107.        Puerto Rico Code 29 L.P.R.A. § 271, et seq., mandates that regular working hours

for non-exempt employees are eight (8) hours per day, and forty (40) hours per week. All hours

worked in excess of eight hours in any work day or forty hours in a week must be compensated as

overtime. 29 L.P.R.A. § 273(a), §274. Defendants willfully violated these sections by failing to

properly compensate Plaintiff and the Puerto Rico Class Members for all hours actually worked in




                                                    15
     Case
      Case5:19-cv-00286-JKP-ESC Document
           5:19-cv-00286-DAE Document 30-140 Filed
                                              Filed06/07/19
                                                    08/05/19 Page
                                                              Page1716ofof2221



excess of eight per day or forty per week. Plaintiff and the Puerto Rico Class Members regularly worked

in excess of 12 hours per day, 6-7 days per week.

    108.        Puerto Rico Code 29 L.P.R.A. § 283 regulates the meal periods granted to workers.

All non-exempt employees are entitled to 1 hour for a meal, to be taken between the third and sixth

consecutive hours of work. An “employer who requires or allows an employee to work for a period

longer than five (5) consecutive hours, without providing a meal period, must pay the employee an

extraordinary compensation for the time worked” at a rate of one and a half times the regular rate of

pay. Id. Defendants willfully violated this section by requiring or failing to allow Plaintiff and the

Puerto Rico Class Members their regular meal periods.

    109.        Puerto Rico Code 29 L.P.R.A. § 501, et seq., requires employers to pay workers who

have worked a certain number of hours a bonus (commonly called a “Christmas Bonus”). This bonus

is provided in addition to any other wages or benefits of any other kind to which an employee is

entitled. Id. Defendants employed the requisite number of workers, but willfully failed to pay a bonus

to those Puerto Rico Class Members who qualified.

    110.        As a result of Defendants willful violations of the applicable Puerto Rico Labor Laws,

Plaintiff and the Puerto Rico Class Members are entitled to recover their respective unpaid

compensation, liquidated damages (double damages), as provided for by the Puerto Rico Labor Law,

attorneys' fees and costs, pre- and post- judgment interest, and such other legal and equitable relief as

this Court deems just and proper.

    111.        Accordingly, Plaintiff and the Puerto Rico Class Members are entitled to overtime

wages under Puerto Rico law in an amount equal to 1 and ½ times their rate of pay, plus liquidated

damages, attorney’s fees and costs.




                                                    16
     Case
      Case5:19-cv-00286-JKP-ESC Document
           5:19-cv-00286-DAE Document 30-140 Filed
                                              Filed06/07/19
                                                    08/05/19 Page
                                                              Page1817ofof2221



                     VIII. CLASS AND COLLECTIVE ACTION ALLEGATIONS

   112.        Plaintiff incorporates all previous paragraphs and alleges that the illegal pay practices

Defendants imposed on Plaintiff were likewise imposed on the Putative Class Members.

   113.        Numerous individuals were victimized by this pattern, practice, and policy which is in

willful violation of the FLSA and Puerto Rico law.

   114.        Numerous other individuals who worked with Plaintiff indicated they were improperly

classified as independent contractors, paid in the same manner, performed similar work, and were not

properly compensated for all hours worked as required by state and federal wage laws.

   115.        Others complained that they were classified as employees, performed the exact same

duties and were paid a day rate regardless of the number of hours worked.

   116.        Based on their experiences and tenure with Defendants, Plaintiff are aware that

Defendants’ illegal practices were imposed on the Putative Class Members. At this time, numerous

employees of Defendants have opted in to this litigation.

   117.        Regardless of classification, members of the Day Rate Class were all not afforded the

overtime compensation when they worked in excess of 40 per week.

   118.        Defendants’ failure to pay appropriate wages and overtime compensation at the rates

required by federal law result from generally applicable, systematic policies, and practices which are

not dependent on the personal circumstances of the Putative Class Members.

   119.        Plaintiff’s experiences are therefore typical of the experiences of the Putative Class

Members.

   120.        The specific job titles or precise job locations of the various members of the Putative

Class Members do not prevent class or collective treatment.




                                                  17
       Case
        Case5:19-cv-00286-JKP-ESC Document
             5:19-cv-00286-DAE Document 30-140 Filed
                                                Filed06/07/19
                                                      08/05/19 Page
                                                                Page1918ofof2221



    121.        Plaintiff has no interests contrary to, or in conflict with, the Putative Class Members.

Like each member of the Putative Class, Plaintiff has an interest in obtaining the unpaid overtime

wages owed under federal law.

    122.        A collective action, such as the instant one, is superior to other available means for fair

and efficient adjudication of the lawsuit.

    123.        Absent this action, many members of the Putative Class likely will not obtain redress

of their injuries and Defendants will reap the unjust benefits of violating the FLSA and Puerto Rico

law.

    124.        Furthermore, even if some of the members of the Putative Class could afford

individual litigation against Defendants, it would be unduly burdensome to the judicial system.

    125.        Concentrating the litigation in one forum will promote judicial economy and parity

among the claims of individual members of the classes and provide for judicial consistency.

    126.        The questions of law and fact common to each of the Putative Class Members

predominate over any questions affecting solely the individual members. Among the common

questions of law and fact are:

                a) Whether Defendants employed the members of the Classes within the meaning of

                    the FLSA or Puerto Rico Law;

                b) Whether the members of the Classes were improperly misclassified as independent

                    contractors;

                c) Whether Defendants’ decision to classify the members of the Classes as

                    independent contractors was made in good faith;

                d) Whether Defendants’ decision to not pay the correct amount for overtime to the

                    members of the Classes was made in good faith;

                e) Whether Defendants’ decision to pay employees a day rate was made in good faith;



                                                   18
      Case
       Case5:19-cv-00286-JKP-ESC Document
            5:19-cv-00286-DAE Document 30-140 Filed
                                               Filed06/07/19
                                                     08/05/19 Page
                                                               Page2019ofof2221



                f) Whether Defendants’ violation of the FLSA was willful; and

                g) Whether Defendants’ illegal pay practices were applied uniformly to all members

                     of the Classes.

    127.        Plaintiff’s claims are typical of the claims of the Putative Class Members. Plaintiff and

the Putative Class Members sustained damages arising out of Defendants’ illegal and uniform

employment policy.

    128.        Plaintiff knows of no difficulty that will be encountered in the management of this

litigation that would preclude its ability to go forward as a class or collective action.

    129.        Although the issue of damages may be somewhat individual in character, there is no

detraction from the common nucleus of liability facts. Therefore, this issue does not preclude

collective action treatment.

                                         IX.     JURY DEMAND

    130.        Plaintiff demands a trial by jury.

                                        X.      RELIEF SOUGHT
    131.        WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

                a.       For an Order designating the Day Rate Class as a collective action and

                         permitting the issuance of a notice pursuant to 29 U.S.C. § 216(b) to all

                         similarly situated individuals with instructions to permit them to assert timely

                         FLSA claims in this action by filing individual Consents to Sue pursuant to 29

                         U.S.C. § 216(b);

                b.       For an Order pursuant to Section 16(b) of the FLSA finding Defendants liable

                         for unpaid back wages due to Plaintiff and the Putative Classes for liquidated

                         damages equal in amount to their unpaid compensation;




                                                     19
Case
 Case5:19-cv-00286-JKP-ESC Document
      5:19-cv-00286-DAE Document 30-140 Filed
                                         Filed06/07/19
                                               08/05/19 Page
                                                         Page2120ofof2221



       c.     For an Order designating the state law classes as class actions pursuant to Fed.

              R. Civ. P. 23;

       d.     For an Order appointing Plaintiff and his counsel as Class Counsel to represent

              the interests of the both the federal and Puerto Rico Class;

       e.     For an Order awarding attorneys’ fees, costs and pre- and post-judgment

              interest; and

       f.     For an Order granting such other and further relief as may be necessary and

              appropriate.


                                      Respectfully submitted,

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                                        20
     Case
      Case5:19-cv-00286-JKP-ESC Document
           5:19-cv-00286-DAE Document 30-140 Filed
                                              Filed06/07/19
                                                    08/05/19 Page
                                                              Page2221ofof2221



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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was served by ECF electronic filing on all known
parties on this the 7th day of June 2019.

                                                      /s/ Richard M. Schreiber
                                                      Richard M. Schreiber




                                                 21
